        Case
         Case1:20-cv-04008-MKV
              1:20-cv-04008-MKV Document
                                 Document19-1
                                          20 Filed
                                              Filed11/10/20
                                                    10/22/20 Page
                                                              Page11ofof22

               Akiva Shapiro                            Akiva Shapiro Law,PLLC
        Attorney and Counselor-at-Law                            Mailing Address:
                1 West Park Drive                          696 Old Bethpage Road #540
             Old Bethpage, NY 11804                          Old Bethpage,NY 11804
                           Phone: 347-435-6529• Fax: 347-710-2543
           Akiva@AkivaShapiroLawPLLC.com • www.AkivaShapiroLawPLLC.com


                                        October 22,2020



Via EOF
Honorable Mary Kay Vyskocil
United States District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, New York 10007-1312



       Re:     Index No. 20-04008(MKV)
               AN Frieda Diamonds, Inc. v. Roni Rubinov and New Liberty Pawn Shop, Inc.


Dear Judge Vyskocil:

        1 am submitting Appellant's reply brieftoday. I am writing to briefly clarify a couple of
points regarding the Court's October 15,2020 decision granting Appellee an extension oftime.

       I write this not seeking a reconsideration, but only that the questions the Court raised
were reasonable and I wanted to shed light on the answers so the Court would not proceed under
a misconception that it was my intention to be unreasonably rude, and go into the process of
reading my briefs with an initial unfavorable opinion ofthe drafting attomey.

       I understood the Court to question how Appellant would be prejudiced by a one day
extension but not from a seven day extension. It was a reasonable question to ask and I should
have been more clear in my letters. The prejudice was not from time, but in relinquishing a
potential statutory right to have the matter heard without opposition. My client is suffering
greatly, and essentially everything in his life is collapsing because of what we believe to be an
erroneous decision. As a professional courtesy, I virtually always grant extension requests to
fellow members ofthe bar and I even offered one initially, which was declined. But once the
opposition brief was late, a right accrued to my client and I could not grant a courtesy on the one
hand, while the Trustee on the other hand, in the interim after my brief was filed, took my
client's $150,000 SBA EIDL,leaving my client without cash to loan (he is a pawnbroker), and
further refusing to unfreeze his empty bank account, leaving him unable to conduct normal
business. I would also note that my emails to Mr. Fox and Mr. Vlock sometimes go days without
response or unanswered altogether and require follow-ups. I too have often dozens and
        Case
         Case1:20-cv-04008-MKV
              1:20-cv-04008-MKV Document
                                 Document19-1
                                          20 Filed
                                              Filed11/10/20
                                                    10/22/20 Page
                                                              Page22ofof22

                                Akiva Shapiro Law,PLLC

sometimes over a hundred emails a day, and I got to Mr. Fox's email at my earliest convenience.
Nothing prevented him from filing a letter motion that day.

       I also understood the Court to question why if his life was being ruined, did my client
take so long to file his initial brief. The answer is that I was not the attorney for the bankruptcy
proceedings. I was retained to undertake this appealjust days before I went on a three week
vacation, and as we do, I came back to a large pile of work and deadlines. I had to read through
and meticulously parse four days oftrial transcripts and dozens of exhibits, plus understand all
prior activity and orders,just to come up to speed and be prepared to write the brief. In addition,
it took months to get the exhibits from outgoing counsel, and when I requested same of Mr. Fox,
he declined to provide them to me as a courtesy. He further replied that he wanted to be paid, but
never responded to my request for how much he wanted. The EIDL loan was taken after
Appellants' brief was filed, and prior to that time counsel Stephen Vlock was advising me they
were looking into the Attorney General's Guidance, which I submitted to him to show that the
taking was against New York Law,and I was hopeful it would be released. The Trustee
ultimately decided to take the money and further refused to unfreeze the empty bank account.
That is when things began to tumble rapidly for my client.

       I also write humbly requesting that in light ofthe potentially unrecoverable situation my
client finds himself in, which worsens each day, that the Court please consider the Appeal on an
expedited basis. Ifthe Court should decide in my client's favor in short order, there may be time
to recover from the damage the judgment against him has done. I have done the best I could in
submitting this brief as early as possible to demonstrate good faith in this regard.

        Thank you very much for your consideration.


Very truly yours




Akiva Shapiro, Esq.



cc. Leo Fox, Esq. via ECF




                                                2of2
